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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 In re:                                   )        Case No. 25-53640-PMB
                                          )
 GLOBAL CONCESSIONS, INC.,                )        Chapter 11
                                          )
          Debtor.                         )
                                          )

             EMERGENCY MOTION TO COMPEL DEBTOR TO
            COMPLY WITH POST-PETITION RENT OBLIGATIONS

      The City of Atlanta (the “City”) moves on an emergency basis to compel the

Debtor, Global Concessions, Inc. (the “Debtor”), to comply with Section 365(d)(3)

of the Bankruptcy Code and timely perform its obligations under the non-

residential real-property leases between the City and the Debtor, specifically

including the payment of rent arising from and after the order for relief. In support

of this Motion, the City shows the Court the following:

                               Jurisdiction and Venue

      1.      This Court has jurisdiction to hear this Motion pursuant to 28 U.S.C.

§§ 157 and 1334. Venue of these proceedings and this Motion in this district are

proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                     Background

      2.      The Debtor, a concessionaire at Hartsfield-Jackson Atlanta

International Airport (the “Airport”), filed a voluntary petition constituting an order


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for relief initiating this Chapter 11 case on April 2, 2025 (the “Petition Date”). The

Debtor continues to operate its business a debtor in possession.

      3.     The Debtor leases retail restaurant space from, among others,1 the

City under two lease agreements: the Agreement for Concourses “B” & “F” Food

and Beverage Concessions at Hartsfield-Jackson Atlanta International Airport (the

“B/F Lease”) dated March 12, 2012, as amended from time to time; and

Concessions Lease Agreement for Food and Beverage Concessions on Concourse

C Midpoint at Hartsfield-Jackson Atlanta International Airport (the “Concourse C

Lease”; together with the B/F Lease, the “Leases”) dated September 5, 2018.

Accurate copies of the Leases are attached as Exhibits “A” and “B.” The Debtor is

also a party to the Hartsfield-Jackson Atlanta International Airport Temporary

Space Permit, dated July 1, 2023 (the “Space Permit”). An accurate copy of the

Space Permit is attached hereto as Exhibit “C.”

      4.     The Leases each provide that rent shall be the greater of a Minimum

Annual Guarantee rent (“MAG”) and a percentage rent calculated based on

receipts (“Percentage Rent”).2 See B/F Lease, §5.1.1; Concourse C Lease, § 5.1.1.

The Debtor is required to pay MAG in advance in one-twelfth installments on the

first day of the month. See B/F Lease, §5.1.4; Concourse C Lease, § 5.1.4. On the


1
  In addition to the Leases with the City, the Debtor leases space in the Airport
from sublessors who have leases with the City.
2
  The calculation for Percentage Rent varies slightly between the two Leases.

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tenth day of month, the Debtor is required to submit a report of gross receipts for

the prior month, from which Percentage Rent is determined by the formulae in the

respective Leases. Id. The Debtor is required to pay Percentage Rent, less

previously paid MAG, on the tenth day of the month (together with the report). Id.

Percentage Rent is late on the twenty-fifth. Id.

      5.     The Debtor is currently due for Percentage Rent under both Leases for

April 2025. Because the Debor did not pay MAG for April, Percentage Rent is not

reduced.

      6.     The Debtor is also due for MAG for May 2025.3

      7.     The amount due prepetition under the Concourse B/F Lease is

$2,034,160.68. The amount due prepetition under the Concourse C Lease is

$2,547,798.32. The amount due postpetition under the Concourse B/F Lease is

$117,853.94 (April Percentage Rent of $20,243.12 plus May MAG of $97,610.82).

The amount due postpetition under the Concourse C Lease is $132,179.91 (April

Percentage Rent of $34,527.62 plus May MAG of $97,652.29). The amount due

prepetition under the Space Permit, for storage space that supports the operation of

both leases, is $470,753.50. The amount due postpetition for such storage space is

$21,118.44. Attached hereto as Exhibit “D” is a summary of the invoices



3
 At its Meeting of Creditors, the Debtor’s representative testified that May rent
would be paid to the City on May 8, 2025.

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supporting these prepetition and postpetition amounts due for Concourse B/F,

Concourse C, and the storage space.

      8.     The Debtor has not rejected either of the Leases and continues to

operate in the Airport.

                                   Basis for Relief

      9.     Section 365(d)(3) requires that the Debtor "timely perform all the

obligations . . . except those specified in section 365(b)(2) [not relevant here],

arising from and after the order for relief under any unexpired lease of

nonresidential real property, until such lease is assumed or rejected,

notwithstanding section 503(b)(1) of this title.” 11 U.S.C. § 365(d)(3). The timely

performance of all obligations includes paying rent. See, e.g., In re Manis Lumber

Co., 430 B.R. 269, 277 (Bankr. N.D. Ga. 2009) (explaining that “Congress

enacted § 365(d)(3) to require payment of postpetition rent … at the contract rate

on a timely basis without regard to the ‘actual, necessary’ requirement of § 503(b)(1)”

and that “the estate must pay for its right to possession until rejection terminates

that right—whether or not the right to possession is actually exercised, regardless

of the value of that right to the estate, and on a timely basis”); and In re CHS

Elecs., Inc. 265 B.R. 339, 341 (Bankr. S.D. Fla. 2001) (ordering payment of post-

petition rent “[b]ased upon a plain reading of § 365(d)(3)”).




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      10.    April MAG came due on April 1, 2025, one day before the Petition

Date. Because April MAG was not paid, the full amount of April Percentage Rent

came due on April 10, 2025, unquestionably after the Petition Date. April

Percentage Rent remains due and unpaid. May MAG came due on May 1, 2025

and remains unpaid.

      11.    The Debtor continues to benefit from the Leases, which appear to be

critical to the Debtor’s continued operation and preservation of the estate. Because

the Debtor is failing to meet its post-petition rent obligations, the Court should

order the Debtor to pay those obligations as Section 365(d)(3) commands.

      12.    The City requests that the Court set this Motion to be heard on an

emergency basis at 9:30 a.m. on May 12, 2025—the same day as a number of other

hearings in this case. Counsel for the City raised the issue of April Percentage Rent

with counsel for the Debtor on April 11, 2025, and again on April 29, 2025. In an

effort to avoid litigation, the City agreed to allow the Debtor until May 7, 2025 to

propose a resolution for unpaid rent on the condition that if the City were

constrained to file a motion to compel payment by May 7, 2025, the Debtor would

agree that such Motion could be heard on May 12, 2025.

      WHEREFORE, the City respectfully requests that the Court

             a. place this Motion for hearing on May 12, 2025 at 9:30 a.m.;




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            b. enter an Order compelling the Debtor to pay April Percentage Rent

               and May MAG immediately;

            c. grant such other relief the Court determines to be just and proper.



Respectfully submitted May 7, 2025.


                                      SMITH, GAMBRELL & RUSSELL, LLP


                                      By: /s/ Michael F. Holbein
                                             Michael F. Holbein
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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing EMERGENCY

MOTION TO COMPEL DEBTOR TO COMPLY WITH POST-PETITION RENT

OBLIGATIONS with the Clerk of Court using the CM/ECF system, which will

automatically send an e-mail notification of such filing to all attorneys of record.

      This 7th day of May, 2025.

                                        /s/ Michael F. Holbein
                                        Michael F. Holbein




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          September 20




      Terrance D Harps
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                    EXHIBIT C
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           HARTSFIELD-JACKSON ATLANTA INTERNATIONAL AIRPORT

                              TEMPORARY SPACE PERMIT


This Temporary Space Permit (“Permit”) is between the City of Atlanta (“City”) and Global
Concessions (“Permittee”). Permittee agrees to the following terms and conditions as specified
herein.

PERMITTEE NAME:                                     GLOBAL CONCESSIONS
                                                    (Hereinafter referred to as the “Permittee”)

PERMITTEE STREET ADDRESS:                           6000 N. TERMINAL PKWY
                                                    ATLANTA, GA 30344

PERMITTEE TELEPHONE NUMBER:                         404-771-6979

PERMITTEE LEGAL REPRESENTATIVE:                     TERRY HARPS

LOCATION/SPACE:                                     Area located on Domestic terminal,
                                                    Concourse C, E, F, and are described in the
                                                    attached Exhibit A. (Hereinafter referred to
                                                    as the “Premises”).
                                                    1.   378.09 SF – Group B
                                                    2.   1,512.30 SF – Group C
                                                    3.   1,829.94 SF – Group C
                                                    4.   31.32 SF – Group B
                                                    5.   473.63 SF – Group B
                                                    6.   727.27 SF – Group C
                                                    7.   1,535.85 SF – Group C

                                                    Total: 6,488.40 SF

PURPOSE:                                            This space will be used for office/storage
                                                    space to function as a place where day-to-
                                                    day company business is transacted and for
                                                    no other purpose (hereinafter referred to as
                                                    the “Use” or “Purpose”).

PERMIT FEE:                                      $336,432.52 annually
[Note: This amount does not include the M & O and shared charges, see sections 6b.]

EFFECTIVE DATE:                                     JULY 1, 2023

TERM:                                               Month-to-Month
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I, as representative for the Permittee, certify that the above information is true, and Permittee
agrees to abide by the terms and conditions as stated in this Permit.

PERMITTEE’S INITIALS:
                                         TERMS AND CONDITIONS

1.     Use of Premises

       The Aviation General Manager at the Hartsfield-Jackson Atlanta International Airport (the
       “Airport”) hereby grants this Permit for the use of Premises, subject to the terms and
       Conditions of this Permit, and applicable federal, state and local laws, regulations, rules,
       codes, ordinances, and executive orders, solely to conduct the Purpose as stated above and
       for no other use. This Permit does not grant any real property leasehold rights. This Permit
       may not be assigned or transferred.

2.     Access

       Permittee shall have access to the Premises, subject to the rules and regulations of the
       Airport, including but not limited to, the security and safety rules of the Federal Aviation
       Administration (“FAA”), Air Traffic Controllers and the City of Atlanta (the “City”). The
       City reserves the right to enter the Premises during the Term of this Permit for maintenance,
       repair, emergencies and inspection.

3.     Condition of the Premises

       Permittee, by signing this Permit, accepts the Premises in its “as-is” condition. City makes
       no warranty either express or implied, as to the condition of the Premises or that the
       Premises will be suitable for Permittee’s Purpose or needs.
       At the term of the Permit, the space must be vacated, left in broom-swept condition,
       Permittee’s signage removed, and the locks have been changed to the City’s.

4.     Modifications to Premises / Signage Requirement

       Permittee must obtain the written consent of the Aviation General Manager prior to the
       commencement of any modifications, repairs, improvements, or any charges (hereinafter
       sometimes referred to collectively as “modifications” or “improvements”) to the Premises.
       Permittee must submit a request for modifications to the Aviation General Manager, along
       with detailed plans, specifications, schematic renderings, materials, color board(s), detailed
       layout and any other applicable documents or drawings.

       Permittee shall accomplish all necessary repairs, improvements and/or modifications as
       may be required for its Use at no expense to the City. The City will not reimburse Permittee
       for any costs incurred in connection therewith. City shall take title to all permanently
       affixed improvements immediately upon installation or construction. If the Aviation
       General Manager requires the removal of the improvements, Permittee must restore the
       Premises to its original condition as it was at the commencement of the Permit.


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      Permittee shall install signage at the entrance of each leased location within thirty (30) days
      after receiving the fully executed Permit. If applicable, signage should be waterproof if it
      is exposed to the elements. Signage must display the Permittee’s name and a 24-hour
      contact phone number at no expense to the City.
5.    Term
      This Permit is for a Month-to-Month term, not to exceed JUNE 30, 2024. In no event
      shall the term of this Permit exceed one (1) year without written consent from the
      Department of Aviation.
6.    Fee and Charges

      a.     Permit Fee. Permittee shall pay a Permit Fee for the Use of the Premises during
             the Term. The Permit Fee is $91.28 per square foot for the 378.09 square feet on
             the Domestic Terminal, $34,512.06 annually, or $2,876.00 monthly. The Permit
             Fee is $45.64 per square foot for the 1,512.30 square feet on the Domestic Terminal,
             $69,021.37 annually, or $5,751.78 monthly. The Permit Fee is $45.64 per square
             foot for the 1,829.94 square feet on Concourse C, $83,518.46 annually, or
             $6,959.87 monthly. The Permit Fee is $91.28 per square foot for the 31.32 square
             feet on Concourse E, $2,858.89 annually, or $238.24 monthly. The Permit Fee is
             $91.28 per square foot for the 473.63 square feet on Concourse E, $43,232.95
             annually, or $3,602.75 monthly. The Permit Fee is $45.64 per square foot for the
             727.27 square feet on the AGTS Level of Concourse F, $33,192.60 annually, or
             $2,766.05 monthly. The Permit Fee is $45.64 per square foot for the 1,535.85
             square feet on the AGTS Level of Concourse F, $70,096.19 annually, or $5,841.35
             monthly. Permit Fees are subject to escalation at the sole discretion of the Aviation
             General Manager by giving written notice to Permittee at least 15 days prior to the
             effective date of the new Permit Fee. The Permit Fee is due in advance whether or
             not an invoice is issued to Permittee.

      b.     Maintenance and Operations. Permittee shall pay maintenance and operations
             (“M&O”) charges, including utilities, in connection with Permittee’s Use of the
             Premises, whether furnished by City or purchased by City on behalf of Permittee
             or furnished to Permittee by independent contractors. Permittee shall be invoiced
             separately for all such M&O charges by the Atlanta Airlines Terminal Corporation
             (“AATC”).

      c.     Shared Costs. Permittee shall also pay additional charges for the Use of the
             Premises arising from an allocation of shared costs including, but not limited to, the
             Automated Guideway Transit Service, security, police, fire and insurance. These
             fees shall be due no later than 10 days from the date of the invoice.

7.    Security Deposit

      No Security Deposit shall be required for this Permit


8.    Place of Payment and Late Fee

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      a.    All amounts due pursuant to this Permit shall be payable to:
                    (1)    CITY OF ATLANTA, DEPARTMENT OF AVIATION,
                           P. O. BOX 920500, ATLANTA, GA 30392
                    (2)    ELECTRONIC FUNDS TRANSFER (EFT), Bank: Wells Fargo
                           Bank, Routing Number: 121000248,
                           Account Number: 2000132044372

      b.    Any amount that is not paid within 30 days of the due date is subject to a late
            payment penalty calculated at the rate of 10% per month (or fraction thereof) of the
            unpaid balance until paid. The date payments are received by the City shall be
            determined by the United States Postal Service cancellation date on the envelope
            transmitting the payment.

      c.    The termination of this Permit shall not relieve Permittee of any liabilities or
            obligations hereunder which have accrued on or prior to the effective date of the
            cancellation or termination. Permittee shall not abate, suspend, postpone, set off, or
            discontinue any payments of fees payable hereunder.

9.    Termination

      a.    The City may terminate this Permit with or without cause, at any time, upon 30
            days prior written notice to Permittee.

      b.    The City may terminate this Permit at any time if Permittee is in breach of any of
            its obligation(s) pursuant to this Permit, which breach continues for more than 30
            days after notice to Permittee of such breach.

      c.    This Permit is automatically terminated if Permittee becomes bankrupt, makes or
            proposes to make any arrangement for the benefit of creditors, has been adjudicated
            insolvent, has applied for reorganization of debts, has applied for the appointment
            of a receiver of its assets or to conduct its operations or has applied for the
            appointment of a receiver of its assets or to conduct its operations or has applied
            for a voluntary winding up or liquidation of its business.

10.   Indemnity and Insurance

      a.    Permittee agrees to defend, indemnify and hold harmless the City, its officers,
            agents, officials, and employees (hereinafter, collectively referred to as the
            “Indemnified Parties”) from and against all liability for bodily injuries to or deaths
            of persons or damage to property arising from Permittee’s Use pursuant to this
            Permit. Permittee also agrees to indemnify and hold harmless the Indemnified
            Parties from and against all claims sustained or alleged to have been sustained in
            connection with or to have arisen out of or resulting from the performance pursuant
            to this Permit by Permittee, or its officers, agents, employees, contractors or
            subcontractors. Permittee further agrees that its liability to indemnify and hold
            harmless the Indemnified Parties shall not be limited to the limits or terms of the
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           liability insurance required pursuant to this Permit. Each party hereto shall give to
           the other prompt and timely written notice of any claim made or suit instituted
           coming to its knowledge which in any way directly or indirectly, contingently or
           otherwise, affects or might affect either, and each shall have the right to participate
           in the defense of the same to the extent of its own interest. This Indemnity and
           Insurance Section shall survive any termination or expiration of this Permit.

      b.   Any and all companies providing insurance required pursuant to this Permit must
           meet certain minimum financial security requirements as set forth below. These
           requirements conform to the ratings published by A.M. Best & Co. in the current
           Best’s Key rating Guide-Property-Casualty. The rating for each company must be
           indicated on the Certificate of Insurance form. Each of the companies providing
           insurance pursuant to this Permit must have current, the following:

                    (1)   Best’s Rating not less than A-; and
                    (2)   Best’s Financial Size Category not less than Class IX; and
                    (3)   Authorization issued by the Insurance Commissioner, State of
                          Georgia, to conduct, transact and enter into insurance contracts.

           If the issuing company does not meet these minimum requirements, or for any other
           reason within reason shall be or become unsatisfactory to the City, written
           notification shall be mailed by City to Permittee, who shall upon notification obtain
           a new policy issued by an insurer acceptable to the City, and shall submit evidence
           of the same to the Aviation General Manager as required herein.

      c.   Upon failure of Permittee to furnish, deliver and maintain such insurance as herein
           provided after five (5) days from receipt of written notice from City of such failure,
           Permittee shall be in default and, in addition to City’s other remedies, this Permit,
           at the election of City, may be terminated.

      d.   Any and all insurance required pursuant to this Permit shall be maintained during
           the entire Term of this Permit, including any extension, thereto. City shall have the
           right to inquire into the adequacy of the insurance coverage set forth in this Permit
           and to require adjustments as necessary. Each and every agent acting as an
           authorized representative on behalf of a company affording coverage pursuant to
           this Permit shall warrant when signing the certificate of insurance that specific
           authorization has been granted by such company or companies for the agent to bind
           coverage as required and to execute the certificate of insurance as evidence of such
           coverage. Each agent, contractor, and/or subcontractor of the Permittee must meet
           the same insurance requirements.

           Permittee must, within 2 business days of receipt, forward to the City, at the
           address listed below by mail, hand-delivery, or facsimile transmission, all
           notices received from the carriers providing insurance under this Permit that
           concern the proposed cancellation, or termination of coverage of any insurance
           policies. All notices under this provision shall be sent to:


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                    City of Atlanta,
                    Attn: Risk Management
                    68 Mitchell St. Suite 9100
                    Atlanta, GA 30303
                    Facsimile # (404) 658-7450

           Confirmation of any mailed notices must be evidenced by return receipts of
           registered or certified mail.

           Permittee shall provide the City with evidence of required insurance prior to the
           commencement of this Permit, and, thereafter, with a certificate evidencing
           renewals or changes to the required policies of insurance at least fifteen (15) days
           prior to the expiration of such policies.

      e.   City must be covered as Additional Insured under all liability insurance (except
           worker’s compensation and property insurance for which Permittee and Permittee’s
           carriers must waive all rights of subrogation against City) and such insurance must
           be primary with respect to the Additional Insured. Confirmation of additional
           insured status and the waiver of subragatory rights must unconditionally appear on
           any certificate of insurance provided by Permittee as evidence of Permittee’s
           compliance. Permittee must also submit to City an Additional Insured Endorsement
           Evidencing City’s rights as an Additional Insured for each policy of insurance under
           which it is required to be an additional insured.

      f.    Required Minimum Insurance Amount
           (i) Worker’s Compensation                            Statutory
                  Employer’s liability:
                  Bodily injury by accident/disease             $1,000,000 each accident
                  Bodily injury by accident/disease             $1,000,000 each employee
                  Bodily injury by accident/disease             $1,000,000 policy limit

           (ii)     General Liability
                    Bodily Injury and Property Damage: $10 Million combined single limit

                    The following specific extensions of coverage shall be provided and
                    indicated on the Certificate of Insurance.

                    (1)    Comprehensive Form
                    (2)    Contractual Insurance (Blanket or specific to this Permit)
                    (3)    Personal Injury




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                     (4)     Broad Form Property Damage
                     (5)     Premises-Operations
                     (6)     Independent Contractors’ Contractual Liability on a blanket basis
                             or Contractual Liabilities specifically covering this Permit
                     (7)     Additional Insured Endorsement (primary & non-contributing in
                             favor of the City of Atlanta
                     (8)     Waiver of Subrogation in favor of the City of Atlanta.

             (iii)   Vehicle and Aircraft (including Helicopter) Liability
                     Bodily Injury and Property Damage: $10 Million for each policy

                     The following specific extensions of coverage shall be provided and
                     indicated on the Certificate of Insurance:

                     (1)     Comprehensive Form
                     (2)     Owned, hired, leased and non-owned vehicles to be covered
                     (3)     Specific liability for vehicles operated on the Airfield

             (iv)    Property Insurance
                     In an amount equal to the full replacement value of any and all property of
                     Permittee and covering all forms of risk with respect to Permittee’s
                     inventory, supplies, and all other property of Permittee located at the
                     Premises, insuring against the perils of fire, lightning, vandalism, malicious
                     mischief, glass breakage, and sprinkler leakage.

                     Waiver of Subrogation in Favor of City.

11.   Compliance with all Laws

      Permittee shall obey all federal, state, local, and Airport rules and regulations, as may be
      amended from time to time, governing the conduct and operations at airports. Permittee
      shall obtain and maintain at its own expense, all present and future permits and licenses
      required by all local, federal, state and local authorities, pertaining to the performance of
      its operations.

12.   Permittee Obligations with Respect to Environmental Matters

      a.     During the Term of this Permit, (i) Permittee shall at its own cost comply with all
             federal, state, and local environmental laws and regulations and (ii) Permittee shall
             not take any action that would subject the Premises to permit requirements under
             any applicable environmental laws for storage, treatment or disposal of Hazardous
             Materials. As used herein, the term “Hazardous Material” means any hazardous or
             toxic substance, material, or waste that is or becomes regulated by any local




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           governmental authority or the United States Government. The term “Hazardous
           Materials” includes, without limitation, any material or substance that is (i) defined
           as a “hazardous waste, extremely hazardous waste” or “restricted hazardous waste,”
           or similar term under any laws now or hereafter enacted by the United States, the
           State of Georgia or any political subdivision thereof, or (ii) designated as a
           “hazardous substance” pursuant to Section 311 of the Federal Water Pollution
           Control Act (33 U.S.C.§1317), or (iii) defined as a “hazardous waste” pursuant to
           Section 1004 of the Federal Resources Conservation and Recovery Act, 42 U.S.C.
           § 6911 et seq. (42 U.S.C.§ 903), or (iv) defined as a “hazardous substance” pursuant
           to Section 101 of the Comprehensive Environmental Response, Compensation and
           Liability Act, 42 U.S.C. § 9601 et seq.(42 U.S.C. § 9601 et seq.) (42 U.S.C. § 9601).

      b.   Except in compliance with all applicable legal requirements, Permittee shall not
           allow the entrance of Hazardous Materials from the Premises into any sewage and
           stormwater drainage system. Other than those materials necessary for the operation
           of the proposed services, Permittee shall not cause or permit any Hazardous
           Materials to be placed, held, stored, processed, treated, released or disposed of on
           or at the Premises. Permittee hereby indemnifies City from and against any breach
           of Permittee of the obligations stated in the preceding sentences, and agrees to
           defend and hold City harmless from and against any and all loss, damage, costs
           and/or expenses (including, without limitation, fines assessed against Permittee,
           City or others for whom City may be responsible, diminution in value of the Airport,
           damages for the loss or restriction on the use of rentable or usable space or of any
           amenity in the Airport, and sums paid in settlement of claims, attorney fees,
           consultant fees, and expert fees) which arise during or after the Term as a result of
           such breach. This indemnification of City by Permittee also includes, without
           limitation, costs incurred in connection with any investigation of site conditions or
           any cleanup, remedial, removal, or restoration work required by any Federal, State
           or local governmental agency or political subdivision because of Hazardous
           Materials present in the soil or groundwater which results from such breach.
           Without limiting the foregoing, if the presence of any Hazardous Materials in or
           about the Premises caused or permitted by Permittee results in any contamination,
           Permittee shall promptly take all actions at its sole expense as are necessary to
           return the Premises to the condition existing prior to the introduction of such
           Hazardous Materials. Notwithstanding the above, the Permittee must first obtain
           the City’s approval of such actions and the City must approve the proposed
           contractors.

      c.   City and its employees, representatives and agents shall have access to the Premises
           during reasonable hours in order to conduct periodic environmental inspections and
           tests for the determination of the presence of contamination by Hazardous Materials
           on or at the Premises.




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13.   Non-Disturbance

      Any use of the Premises by Permittee or its officers, agents, contractors, officials and
      employees shall be conducted in an orderly and proper manner and shall not otherwise
      annoy, disturb, create a hazard, or be offensive to surrounding areas, or interfere with other
      projects on, or the operations of, the Airport. Permittee shall promptly comply and shall
      cause its officers, agents, contractors, officials and employees to promptly comply, with
      any request from the Aviation General Manager to correct such annoyance, disturbance,
      hazard or any other offensive or improper activities or operations. By execution of this
      Permit, the Permittee agrees that in the event Permittee, or its officers, agents, contractors,
      officials and employees, fails to so comply, the Aviation General Manager may exercise
      the right to stop any or all operations from being performed by or on behalf of Permittee
      until such compliance is achieved, without terminating this Permit and/or the Department
      of Aviation may impose a fine for the period of such non-compliance. The fine shall be
      10% of the Permit Fee pursuant to this Permit. Permittee agrees that any decision by the
      Aviation General Manager to impose such a fine shall be final, binding and conclusive on
      such matter. City shall not be responsible for any expense or liability resulting from such
      stoppage or fine pursuant to this Section.

14.   Non-Discrimination

      Permittee agrees that no person shall be excluded from participation in, denied the benefits
      of, or otherwise discriminated against in connection with Permittee’s Use pursuant to this
      Permit because of race, color, religion, national origin, sex, sexual orientation or age.
      Permittee shall use the Premises in compliance with all other requirements imposed by or
      pursuant to Title 49, Code of Federal Regulations, Department of Transportation, Subtitle
      A and as such Regulations may be amended.


15.   Integrated Agreement, Modification

      This Permit contains all the agreements of the parties with respect to the Premises and
      cannot be further amended or modified except by written agreement of the parties. If the
      parties hereto previously have entered into or do enter into any other agreement, license or
      permit covering premises or facilities at the Airport, this Permit and the terms, conditions,
      provisions and covenants hereof shall not in any way or in any respect change, amend,
      modify, alter, enlarge, impair or prejudice any of the rights, privileges, duties obligations
      of either of the parties hereto under or by reason of any other said agreement, permit, or
      license between said parties.




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16.    Notices

       All notices shall be mailed, using certified mail, return receipt requested, or via overnight
       delivery by the nationally recognized carrier such as UPS or FedEx, to the respective parties
       at the following addresses:

IF TO CITY:                                          IF TO PERMITTEE:

CITY OF ATLANTA
ATTENTION: KYM TRICE                                 ATTENTION: TERRY HARPS
COMMERCIAL PROPERTY MANAGEMENT                       OWNER

6000 N. TERMINAL PARKWAY                             6000 N. TERMINAL PKWY
P.O. BOX 20509                                       ATLANTA, GA 30344
ATLANTA, GA 30320


CITY OF ATLANTA                                      TERRY HARPS

By:                                                  By:


Title: Senior Property Specialist                    Title: Owner


Date: 07/24/2023                                     Date: 09/01/2023




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                    EXHIBIT D
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                                                                                  Customer Statement - May 6, 2025

                            Global Concessions Inc

                            6000 N Terminal Pkwy
                            T-118
                            Atlanta, GA 30337

          Invoice                               Activity                                                                                                      Original
          Number            Type                 Period        Trans Date    Due Date        Description                                                      Amount     Balance Due
ATL-20193790                BLNS        Jul, 2019              6/19/2019       7/19/2019   Concourse B&F FC-5467             MAG                           $110,729.42   $110,729.42
ATL-20194954                BLNS        August, 2019           7/16/2019       8/15/2019   Concourse B&F FC-5467             MAG                           $113,575.13   $113,575.13
ATL-20196185                BLNS        September, 2019        8/15/2019       9/14/2019   Concourse B&F FC-5467             MAG                           $113,575.13   $113,575.13
ATL-20197578                BLNS        October, 2019          9/17/2019      10/17/2019   Concourse B&F FC-5467             MAG                           $113,575.13   $113,575.13
ATL-20199402                BLNS        September, 2019        10/21/2019     11/20/2019   Concourse B&F FC-5467             Percentage Rent                $15,602.45    $15,602.45
ATL-20200505                BLNS        December, 2019         11/14/2019     12/14/2019   Concourse B&F FC-5467             MAG                           $113,575.13   $113,575.13
ATL-20200924                BLNS        October, 2019          11/26/2019     12/26/2019   Concourse B&F FC-5467             Percentage Rent                $18,807.48    $18,807.48
ATL-20201623                BLNS        January, 2020          12/16/2019      1/15/2020   Concourse B&F FC-5467             MAG                           $113,575.13   $113,575.13
ATL-20202780                BLNS        February, 2020         1/14/2020       2/13/2020   Concourse B&F FC-5467             MAG                           $113,575.13   $113,575.13
FY24 -12807                 BLIN        January, 2024          12/18/2023       1/1/2024   Concourse B&F FC-5467             MAG                            $81,937.16    $81,937.16
FY24 -13014                 BLIN        November, 2023         12/22/2023     12/22/2023   Concourse B&F FC-5467             Percentage Rent                $27,976.24    $27,976.24
FY24 -13242                 BLIN        February, 2024         1/16/2024        2/1/2024   Concourse B&F FC-5467             MAG                            $81,937.16    $81,937.16
FY24 -13509                 BLIN        December, 2023         1/26/2024       1/26/2024   Concourse B&F FC-5467             Percentage Rent                $22,270.12    $22,270.12
FY24 -13835                 BLIN        March, 2024            2/15/2024        3/1/2024   Concourse B&F FC-5467             MAG                            $62,188.81    $62,188.81
FY24 -14369                 BLIN        April, 2024            3/15/2024        4/1/2024   Concourse B&F FC-5467             MAG                            $81,937.16    $81,937.16
FY24 -15437                 BLIN        June, 2024             5/15/2024        6/1/2024   Concourse B&F FC-5467             MAG                            $81,937.16    $81,937.16
FY24 -15624                 BLIN        April, 2024            5/28/2024       5/28/2024   Concourse B&F FC-5467             Percentage Rent                $46,761.35    $46,761.35
FY24 -16037                 BLIN        May, 2024              6/21/2024       6/21/2024   Concourse B&F FC-5467             Percentage Rent                $51,641.70    $51,641.70
FY25 -16179                 BLIN        July, 2024             6/28/2024        7/1/2024   Concourse B&F FC-5467             MAG                            $81,937.16    $81,937.16
FY25 -16759                 BLIN        June, 2024             7/29/2024       7/29/2024   Concourse B&F FC-5467             Percentage Rent                $47,254.36    $47,254.36
FY25 -17153                 BLIN        September, 2024        8/23/2024        9/1/2024   Concourse B&F FC-5467             MAG                            $97,610.82    $97,610.82




   Invoice Number is Required with Payment, Thank You!
                                                                                             Remit To:
   For inquiries: billing.inquiry@atl.com                  City Of Atlanta Department of Aviation P.O. Box 920500 Atlanta GA 30392-0500
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FY25 -18371                 BLIN        September, 2024       10/23/2024     10/23/2024   Concourse B&F FC-5467             Percentage Rent                      $20,715.69      $20,715.69
FY25 -19631                 BLIN        January, 2025         1/16/2025        1/1/2025   Concourse B&F FC-5467             MAG                                  $97,610.82      $97,610.82
FY25 -19903                 BLIN        February, 2025        1/23/2025        2/1/2025   Concourse B&F FC-5467             MAG                                  $97,610.82      $97,610.82
FY25 -20462                 BLIN        January, 2025         2/24/2025       2/24/2025   Concourse B&F FC-5467             Percentage Rent                       $3,828.56       $3,828.56
FY25 -20238                 BLIN        March, 2025           2/13/2025        3/1/2025   Concourse B&F FC-5467             MAG                                  $97,610.82      $97,610.82
FY25 -20443                 BLIN        February, 2025        2/24/2025       3/26/2025   Concourse B&F FC-5467             Fine Lease Violation                  $1,000.00       $1,000.00
FY25 -20727                 BLIN        April, 2025           3/17/2025        4/1/2025   Concourse B&F FC-5467             MAG                                  $97,610.82      $97,610.82
FY25 -21067                 BLIN        February, 2025        3/28/2025       3/28/2025   Concourse B&F FC-5467             Percentage Rent                       $5,950.70       $5,950.70
FY25 -21409                 BLIN        May, 2025             4/18/2025        5/1/2025   Concourse B&F FC-5467             MAG                                  $97,610.82      $97,610.82
FY25 -21546                 BLIN        March, 2025           4/23/2025       4/23/2025   Concourse B&F FC-5467             Percentage Rent                      $20,243.12      $20,243.12

                                                                                          Concourse B&F FC-5467 Total                                          $2,131,771.50   $2,131,771.50
ATL-19192444                BLNS        June, 2019            5/14/2019       6/13/2019   Concourse C FC-8484               MAG                                 $151,275.67      $65,650.06
ATL-20193791                BLNS        July, 2019            6/19/2019       7/19/2019   Concourse C FC-8484               MAG                                 $151,275.67     $151,275.67
ATL-20194956                BLNS        August, 2019          7/16/2019       8/15/2019   Concourse C FC-8484               MAG                                 $151,275.67     $151,275.67
ATL-20196187                BLNS        September, 2019       8/15/2019       9/14/2019   Concourse C FC-8484               MAG                                 $151,275.67     $151,275.67
ATL-20197580                BLNS        October, 2019         9/17/2019      10/17/2019   Concourse C FC-8484               MAG                                 $151,275.67     $151,275.67
ATL-20200507                BLNS        December, 2019        11/14/2019     12/14/2019   Concourse C FC-8484               MAG                                 $151,275.67     $151,275.67
ATL-20201625                BLNS        January, 2020         12/16/2019      1/15/2020   Concourse C FC-8484               MAG                                 $151,275.67     $151,275.67
ATL-20202781                BLNS        February, 2020        1/14/2020       2/13/2020   Concourse C FC-8484               MAG                                 $151,275.67     $151,275.67
FY24 -12807                 BLIN        January, 2024         12/18/2023       1/1/2024   Concourse C FC-8484               MAG                                  $67,462.90      $67,462.90
FY24 -13014                 BLIN        November, 2023        12/22/2023     12/22/2023   Concourse C FC-8484               Percentage Rent                      $41,653.49      $41,653.49
FY24 -13242                 BLIN        February, 2024        1/16/2024        2/1/2024   Concourse C FC-8484               MAG                                  $67,462.90      $67,462.90
FY24 -13509                 BLIN        December, 2023        1/26/2024       1/26/2024   Concourse C FC-8484               Percentage Rent                      $42,535.51      $42,535.51
FY24 -13835                 BLIN        March, 2024           2/15/2024        3/1/2024   Concourse C FC-8484               MAG                                  $67,462.90      $67,462.90
FY24 -14369                 BLIN        April, 2024           3/15/2024        4/1/2024   Concourse C FC-8484               MAG                                  $67,462.90      $67,462.90
FY24 -15437                 BLIN        June, 2024            5/15/2024        6/1/2024   Concourse C FC-8484               MAG                                  $67,462.90      $67,462.90
FY24 -15624                 BLIN        April, 2024           5/28/2024       5/28/2024   Concourse C FC-8484               Percentage Rent                      $60,971.26      $60,971.26
FY24 -16037                 BLIN        May, 2024             6/21/2024       6/21/2024   Concourse C FC-8484               Percentage Rent                      $81,048.35      $81,048.35




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FY25 -16179                 BLIN        July, 2024            6/28/2024        7/1/2024   Concourse C FC-8484               MAG                             $67,462.90      $67,462.90
FY25 -16759                 BLIN        June, 2024            7/29/2024       7/29/2024   Concourse C FC-8484               Percentage Rent                 $85,374.84      $85,374.84
FY25 -17219                 BLNS        July, 2024            8/23/2024       8/23/2024   Concourse C FC-8484               Percentage Rent                 $78,572.52      $69,850.31
FY25 -17153                 BLIN        September, 2024       8/23/2024        9/1/2024   Concourse C FC-8484               MAG                             $97,652.29      $97,652.29
FY25 -18371                 BLIN        September, 2024       10/23/2024     10/23/2024   Concourse C FC-8484               Percentage Rent                 $39,484.25      $39,484.25
FY25 -18654                 BLIN        December, 2024        11/15/2024      12/1/2024   Concourse C FC-8484               MAG                             $97,652.29      $50,000.11
FY25 -19631                 BLIN        January, 2025         1/16/2025        1/1/2025   Concourse C FC-8484               MAG                             $97,652.29      $97,652.29
FY25 -19903                 BLIN        February, 2025        1/23/2025        2/1/2025   Concourse C FC-8484               MAG                             $97,652.29      $97,652.29
FY25 -20462                 BLIN        January, 2025         2/24/2025       2/24/2025   Concourse C FC-8484               Percentage Rent                 $17,567.55      $17,567.55
FY25 -20238                 BLIN        March, 2025           2/13/2025        3/1/2025   Concourse C FC-8484               MAG                             $97,652.29      $97,652.29
FY25 -20727                 BLIN        April, 2025           3/17/2025        4/1/2025   Concourse C FC-8484               MAG                             $97,652.29      $97,652.29
FY25 -21067                 BLIN        February, 2025        3/28/2025       3/28/2025   Concourse C FC-8484               Percentage Rent                  $7,166.43       $7,166.43
FY25 -21409                 BLIN        May, 2025             4/18/2025        5/1/2025   Concourse C FC-8484               MAG                             $97,652.29      $97,652.29
FY25 -21546                 BLIN        March, 2025           4/23/2025       4/23/2025   Concourse C FC-8484               Percentage Rent                 $34,527.62      $34,527.62

                                                                                          Concourse C FC-8484 Total                                       $2,787,450.61   $2,645,450.61
ATL-20193727                BLNS        July, 2019            6/19/2019       7/19/2019   Terminal Rents                    Space Storage                   $20,887.05      $20,887.05
ATL-20199102                BLNS        November, 2019        10/15/2019     11/14/2019   Terminal Rents                    Space Storage                   $22,981.44      $22,981.44
ATL-20200506                BLNS        December, 2019        11/14/2019     12/14/2019   Terminal Rents                    Space Storage                   $22,981.44      $22,981.44
ATL-20201624                BLNS        January, 2020         12/16/2019      1/15/2020   Terminal Rents                    Space Storage                   $22,981.44      $22,981.44
FY24 -12807                 BLIN        January, 2024         12/18/2023       1/1/2024   Terminal Rents                    Space Storage                   $28,036.04      $28,036.04
FY24 -13242                 BLIN        February, 2024        1/16/2024        2/1/2024   Terminal Rents                    Space Storage                   $28,036.04      $28,036.04
FY24 -14369                 BLIN        April, 2024           3/15/2024        4/1/2024   Terminal Rents                    Space Storage                   $28,036.04      $28,036.04
FY24 -15437                 BLIN        June, 2024            5/15/2024        6/1/2024   Terminal Rents                    Space Storage                   $28,036.04      $28,036.04
FY25 -16179                 BLIN        July, 2024            6/28/2024        7/1/2024   Terminal Rents                    Space Storage                   $33,558.49      $33,558.49
FY25 -16581                 BLIN        August, 2024          7/18/2024        8/1/2024   Terminal Rents                    Space Storage                   $28,960.92      $28,960.92
FY25 -17153                 BLIN        September, 2024       8/23/2024        9/1/2024   Terminal Rents                    Space Storage                   $28,960.92      $28,960.92
FY25 -17639                 BLIN        October, 2024         9/18/2024       10/1/2024   Terminal Rents                    Space Storage                   $28,962.03      $28,962.03
FY25 -18188                 BLIN        November, 2024        10/16/2024      11/1/2024   Terminal Rents                    Space Storage                   $28,961.52      $28,961.52




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FY25 -18654                 BLIN        December, 2024       11/15/2024      12/1/2024   Terminal Rents                    Space Storage                           $28,960.92      $22,076.17
FY25 -19631                 BLIN        January, 2025        1/16/2025        1/1/2025   Terminal Rents                    Space Storage                           $27,704.51      $21,118.44
FY25 -19903                 BLIN        February, 2025       1/23/2025        2/1/2025   Terminal Rents                    Space Storage                           $21,118.44      $21,118.44
FY25 -20238                 BLIN        March, 2025          2/13/2025        3/1/2025   Terminal Rents                    Space Storage                           $21,118.44      $21,118.44
FY25 -20727                 BLIN        April, 2025          3/17/2025        4/1/2025   Terminal Rents                    Space Storage                           $21,118.44      $21,118.44
FY25 -21409                 BLIN        May, 2025            4/18/2025        5/1/2025   Terminal Rents                    Space Storage                           $21,118.44      $21,118.44
FY25 -19365                 BLIN        December, 2024       12/31/2024     12/31/2024   Terminal Rents                    Space Storage FY24 Year End True Up     $12,824.16      $12,824.16

                                                                                         Terminal Rents Total                                                     $505,342.76     $491,871.94

                                                                                         Grand Total                                                             $5,424,564.87   $5,269,094.05




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